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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

IGT Global Solutions Corporation
                                        Plaintiff,
v.                                                       Case No.: 1:18−cv−00476
                                                         Honorable Robert M. Dow Jr.
Colin Hadden, et al.
                                        Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, July 10, 2018:


        MINUTE entry before the Honorable Robert M. Dow, Jr: Parties have advised the
Court that the case has been settled. The Complaint is dismissed without prejudice, with
any Party having the right to file a motion to reopen this action prior to or on May 4, 2019,
to assert a claim for an alleged breach of the Parties settlement agreement. The Parties
agree that no other basis shall exist on which any Party may seek to reopen this action.
The dismissal without prejudice in this Stipulated Dismissal Order shall automatically
convert to a dismissal with prejudice effective May 5, 2019, if no motion to reopen is filed
on or before May 4, 2019. This Court shall retain jurisdiction over the parties and this
action to enforce the Parties settlement agreement, as set forth in paragraph 1. Each party
is to bear its own costs and attorney's fees. Status hearing set for 7/11/2018 is stricken.
Civil case terminated. Mailed notice(cdh, )




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